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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  ABIGAIL MULLEN,                                  )
                                                   )   Civil Action No. 2:20-cv-02020
          Plaintiff,                               )
                                                   )    The Honorable J. Nicholas Ranjan
  v.                                               )
                                                   )
  MSA SAFETY INCORPORATED,                         )   ELECTRONICALLY FILED
                                                   )
          Defendant.                               )
                                                   )   JURY TRIAL DEMANDED



          DEFENDANT’S ANSWER AND DEFENSES TO PLAINTIFF’S SECOND
                          AMENDED COMPLAINT

         Defendant MSA Safety Pittsburgh Manufacturing, LLC (“Defendant”), incorrectly

 identified as “MSA Safety Incorporated,” by and through its undersigned counsel, files the

 following Answer and Defenses to Plaintiff Abigail Mullen’s Second Amended Complaint:


                                      I.       Nature of the Action

         1.       Defendant admits only that Plaintiff has filed claims under the Americans with

Disabilities Act (“ADA”), the Family and Medical Leave Act (“FMLA”), and the Pennsylvania

Human Relations Act (“PHRA”). Defendant denies the remaining allegations of Paragraph 1 of

the Second Amended Complaint. Further, Defendant specifically denies any violation of law and

denies that Plaintiff is entitled to any relief.

                                      II.    Jurisdiction and Venue

         2.       Defendant admits only that Plaintiff filed claims under the ADA and FMLA and

 this Court may exercise jurisdiction over those claims pursuant to 28 U.S.C. § 1331.
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        3.       Defendant admits only that the Court may exercise jurisdiction over properly

exhausted state law claims pursuant to 28 U.S.C. § 1367(a).

        4.       Defendant admits that the United States District Court for the Western District of

Pennsylvania is a proper venue for the action. Defendant specifically denies any violation of law

and denies that Plaintiff is entitled to any relief.

        5.       Defendant admits that Plaintiff filed a Charge with the Equal Employment

Opportunity Commission. Defendant denies that the Charge bears number 533-2019-20885. The

remaining allegations in Paragraph 5 of the Second Amended Complaint state conclusions of law

to which no response is required; to the extent that any response is deemed to be required, the

allegations are denied.

        6.       Defendant admits that the relevant Notice of Right to Sue is dated November 24,

2020. Defendant is without knowledge or information sufficient to form a belief as to the truth of

the remaining allegations in Paragraph 6 of the Second Amended Complaint, including when it

was received by Plaintiff; to the extent that any response is deemed to be required, the allegations

are denied.

       7.        The allegations in Paragraph 7 of the Second Amended Complaint purport to

interpret and characterize a document that speaks for itself and otherwise set forth conclusions of

law to which no response is required; to the extent that any response is deemed to be required, the

allegations are denied.

                                             III.      Parties
        8.       Defendant admits that Plaintiff, Abigail Mullen is an adult. Defendant is without

 knowledge or information sufficient to form a belief as to the truth of the remaining allegations

 in Paragraph 8 of the Second Amended Complaint; to the extent that any response is deemed to

 be required, the allegations are denied.

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       9.       Defendant denies that it is properly identified in the Second Amended Complaint.

Defendant admits the remaining allegations in Paragraph 9 of the Second Amended Complaint.

                                           IV.       Facts

       10.      Defendant admits that it employed Plaintiff as a Production Technician I.

Defendant denies as stated the remaining allegations in Paragraph 10 of the Second Amended

Complaint.

       11.      Defendant denies as stated the allegations in Paragraph 11 of the Second Amended

Complaint.

       12.      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 12 of the Second Amended Complaint concerning the

description of “Sphincter of Oddi dysfunction”; to the extent that any response is deemed to be

required, the allegations are denied. Defendant denies as stated the remaining allegations in

Paragraph 12 of the Second Amended Complaint.

       13.      Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 13 of the Second Amended Complaint; to the extent that any

response is deemed to be required, the allegations are denied.

       14.      Defendant denies the allegations in Paragraph 14 of the Second Amended

Complaint.

       15.      Defendant admits only that it employed individuals named Abigail Jolly and Tyler

Smith during the relevant time period. Defendant denies that Jolly harassed Mullen. Defendant is

without knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in Paragraph 15 of the Second Amended Complaint, including the “romantic




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relationship” between Jolly and Smith; to the extent that any response is deemed to be required,

the allegations are denied.

        16.    Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 16 of the Second Amended Complaint; to the extent that any

response is deemed to be required, the allegations are denied.

        17.    Defendant denies as stated the allegations in Paragraph 17 of the Second Amended

Complaint.

        18.    Defendant admits that Margie Woods was employed by Defendant as part of its

Human Resources Department and that Plaintiff spoke with Woods in that capacity on August 20,

2019. Defendant also admits that Woods provided suggestions to Plaintiff on how to interact with

her co-workers. Defendant denies as stated the remaining allegations in Paragraph 18 of the

Second Amended Complaint.

        19.    Defendant admits that it attempted to mediate the dispute between Mullen and Jolly

with the assistance of Mullen’s supervisor, Bernie Gioia on August 21, 2019. Defendant denies as

stated the remaining allegations in Paragraph 19 of the Second Amended Complaint.

        20.    Defendant denies as stated the allegations in Paragraph 20 of the Second Amended

Complaint.

        21.    Defendant denies the allegations in Paragraph 21 of the Second Amended

Complaint.

        22.    Defendant denies the allegations in Paragraph 22 of the Second Amended

Complaint.

        23.    Defendant denies the allegations in Paragraph 23 of the Second Amended

Complaint regarding purported statements by Woods and the allegation that Plaintiff experienced



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bullying and harassment by Jolly. Defendant is without knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in Paragraph 23 of the Second Amended

Complaint, including whether Plaintiff and Jolly “had no contact” “outside of work”; to the extent

that any response is deemed to be required, the allegations are denied.

        24.     Defendant admits that it has a policy prohibiting bullying. Defendant denies as

stated the remaining allegations in Paragraph 24 of the Second Amended Complaint.

        25.     Defendant admits that it employed an individual named Shane Livingstone as

Production Manager during the relevant time and that Livingstone discussed Plaintiff’s complaints

with her. Defendant denies as stated the remaining allegations in Paragraph 25 of the Second

Amended Complaint.

        26.     Defendant denies the allegations in Paragraph 26 of the Second Amended

Complaint.

        27.     Defendant denies the allegations in Paragraph 27 of the Second Amended

Complaint.

        28.     Defendant admits that it employed an individual named RJ Sutton during the

applicable time period. Defendant is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 28 of the Second Amended Complaint as to what

Plaintiff “believe[d]; to the extent that any response is deemed to be required, the allegations are

denied. Defendant denies the remaining allegations in Paragraph 28 of the Second Amended

Complaint.

        29.     Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 29 of the Second Amended Complaint; to the extent that any

response is deemed to be required, the allegations are denied.



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       30.     Defendant admits that it employed an individual named Shawn McClean during the

applicable time period and that he acted as Group Leader. Defendant denies as stated the

remaining allegations in Paragraph 30 of the Second Amended Complaint.

       31.     Defendant denies that Plaintiff was subject to “bullying” or “harassment.”

Defendant denies as stated the remaining allegations in Paragraph 31 of the Second Amended

Complaint.

       32.     Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 32 of the Second Amended Complaint concerning what

Mullen allegedly “began to notice”; to the extent that any response is deemed to be required, the

allegations are denied. Defendant denies the remaining allegations in Paragraph 32 of the Second

Amended Complaint.

       33.     Defendant denies the allegations in Paragraph 33 of the Second Amended

Complaint.

       34.     Defendant admits that it employed an individual named K.C. Clipper during the

relevant time. Defendant denies the remaining allegations in Paragraph 34 of the Second Amended

Complaint.

       35.     Defendant denies the allegations in Paragraph 35 of the Second Amended

Complaint.

       36.     Defendant denies that Plaintiff “faced” “harassment” or that Defendant “refuse[ed]

to remedy the situation.” As acknowledged in her Second Amended Complaint, it is admitted that

Plaintiff took FMLA leave while working for Defendant. Defendant is without knowledge or

information sufficient to form a belief as to the truth of the remaining allegations in Paragraph 36




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of the Second Amended Complaint, including what Plaintiff “decided”; to the extent that any

response is deemed to be required, the allegations are denied.

       37.     Defendant admits that it engages a third-party, UNUM, as its FMLA provider.

Defendant denies the remaining allegations in Paragraph 37 of the Second Amended Complaint.

       38.     Defendant denies the allegations in Paragraph 38 of the Second Amended

Complaint.

       39.     Defendant admits that it suspended Plaintiff for three days as part of a written write-

up. Defendant denies as stated the remaining allegations in Paragraph 39 of the Second Amended

Complaint.

       40.     Defendant admits that it employed an individual named Brendan Cujas (“Cujas”)

during the relevant time period. Defendant is without knowledge or information sufficient to form

a belief as to the truth of the remaining allegations in Paragraph 40 of the Second Amended

Complaint; to the extent that any response is deemed to be required, the allegations are denied.

       41.     Defendant denies that McClean “pressure[d]” Plaintiff. Defendant is without

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

Paragraph 41 of the Second Amended Complaint; to the extent that any response is deemed to be

required, the allegations are denied.

       42.     Defendant admits that it employed an individual named Kimberly Pfeffer during

the applicable time period. Defendant is without knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in Paragraph 42 of the Second Amended

Complaint; to the extent that any response is deemed to be required, the allegations are denied.




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       43.    Defendant admits that it employed Michelle Monroe in its Human Resources

Department during the applicable time period and that Monroe met with Plaintiff. Defendant

denies as stated the remaining allegations in Paragraph 43 of the Second Amended Complaint.

       44.    Defendant admits only that it informed Plaintiff that it would investigate her

complaint. Defendant denies as stated the remaining allegations in Paragraph 44 of the Second

Amended Complaint.

       45.    Defendant admits that it investigated Plaintiff’s allegations and found that Plaintiff

was not subject to harassment. Defendant denies as stated the remaining allegations in Paragraph

45 of the Second Amended Complaint.

       46.    Defendant admits that it employed an individual named Ashley Hohman during the

relevant time period and that Plaintiff clocked-in late in March 2020. Defendant further admits

that Plaintiff communicated with Hohman regarding her late clock-in. Defendant denies as stated

the remaining allegations in Paragraph 46 of the Second Amended Complaint.

       47.    Defendant admits that the late clock-in constituted a half an occurrence under its

attendance policy. Defendant denies as stated the allegations in Paragraph 47 of the Second

Amended Complaint.

       48.    Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 48 of the Second Amended Complaint regarding an unnamed

“different co-worker” or use of vacation time by unidentified “staff”; to the extent that any

response is deemed to be required, the allegations are denied. Defendant denies the remaining

allegations in Paragraph 48 of the Second Amended Complaint.

       49.    Defendant denies as stated the allegations in Paragraph 49 of the Second Amended

Complaint.



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       50.     Defendant admits only that Plaintiff’s late clock-in was not counted as an

occurrence. Defendant denies the remaining allegations in Paragraph 50 of the Second Amended

Complaint.

       51.     The allegations in Paragraph 51 of the Second Amended Complaint purport to

interpret and characterize a document that speaks for itself.        Defendant denies Plaintiff’s

interpretation and characterization of that document.

       52.     Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 52 of the Second Amended Complaint regarding what Plaintiff

“believe[d]”; to the extent that any response is deemed to be required, the allegations are denied.

       53.     Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 53 of the Second Amended Complaint regarding purported

communications with third-party UNUM and Plaintiff that Defendant was not party to; to the

extent that any response is deemed to be required, the allegations are denied.

       54.     Defendant admits that Plaintiff was informed that she had exhausted her FMLA

leave. Defendant denies as stated the remaining allegations in Paragraph 54 of the Second

Amended Complaint.

       55.     Defendant admits that Plaintiff was terminated on July 17, 2020 for her violation

of Defendant’s attendance policies, including four unauthorized absences in June.

       56.     Defendant admits that it gave Plaintiff the opportunity to provide additional

information relevant to her termination. Defendant is without knowledge or information sufficient

to form a belief as to the truth of the allegations in Paragraph 56 of the Second Amended Complaint

regarding what UNUM allegedly “refused to provide”; to the extent that any response is deemed

to be required, the allegations are denied.



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       57.     Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 57 of the Second Amended Complaint regarding purported

communications between Plaintiff and “Josh Wing” that Defendant was not party to; to the extent

that any response is deemed to be required, the allegations are denied.

       58.     Defendant admits that Plaintiff filed a complaint with its ethics hotline on or about

July 21, 2020. Defendant denies as stated the remaining allegations in Paragraph 58 of the Second

Amended Complaint.

       59.     Defendant admits that it employed an individual named Erin Barnhart as a Benefits

Analyst and that Plaintiff was directed to contact UNUM. Defendant denies as stated the

remaining allegations in Paragraph 59 of the Second Amended Complaint.

       60.     Defendant is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 60 of the Second Amended Complaint regarding alleged

inaction by UNUM or the purported cause of that inaction; to the extent that any response is

deemed to be required, the allegations are denied.

       61.     Defendant denies that Plaintiff was subject to bullying or harassment or that it was

not addressed properly. Defendant is without knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in Paragraph 61 of the Second Amended Complaint

regarding what Plaintiff hypothetically would or would not have done regarding her FMLA leave;

to the extent that any response is deemed to be required, the allegations are denied.

                                          COUNT I
                      Disability Discrimination in Violation of the ADA

       62.     Defendant restates and incorporates its answers to Paragraphs 1 through 61 of the

Second Amended Complaint as though set forth at length herein.



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       63.     The allegations in Paragraph 63 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       64.     The allegations in Paragraph 64 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       65.     The allegations in Paragraph 65 (a)-(c) of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       66.     The allegations in Paragraph 66 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       67.     Defendant denies as stated the allegations in Paragraph 67 of the Second Amended

Complaint.

       68.     The allegations in Paragraph 68 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       69.     The allegations in Paragraph 69 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       70.     The allegations in Paragraph 70 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.



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       WHEREFORE, Defendant denies that Plaintiff is entitled to judgment in her favor or to the

relief requested in the WHEREFORE clause following Paragraph 70 of the Second Amended

Complaint. Defendant further denies that Plaintiff is entitled to judgment in her favor or to any relief

under the allegations set forth in the Second Amended Complaint. Defendant requests that the Court

dismiss the claims, with prejudice, in their entirety and that Defendant be awarded costs, expenses,

interest on those amounts, and any such further relief that this Court may deem appropriate.

                                          COUNT II
                      Disability Discrimination in Violation of the PHRA

       71.     Defendant restates and incorporates its answers to Paragraphs 1 through 69 of the

Second Amended Complaint as though set forth at length herein.

       72.     The allegations in Paragraph 72 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       73.     The allegations in Paragraph 73 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       74.     The allegations in Paragraph 74 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       75.     The allegations in Paragraph 75 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       76.     Defendant denies the allegations in Paragraph 76 of the Second Amended

Complaint.

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       77.     The allegations in Paragraph 77 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       78.     The allegations in Paragraph 78 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       79.     The allegations in Paragraph 79 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       80.     The allegations in Paragraph 80 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       WHEREFORE, Defendant denies that Plaintiff is entitled to judgment in her favor or to the

relief requested in the WHEREFORE clause following Paragraph 80 of the Second Amended

Complaint. Defendant further denies that Plaintiff is entitled to judgment in her favor or to any relief

under the allegations set forth in the Second Amended Complaint. Defendant requests that the Court

dismiss the claims, with prejudice, in their entirety and that Defendant be awarded costs, expenses,

interest on those amounts, and any such further relief that this Court may deem appropriate.

                                         COUNT III
                        Failure to Accommodate in Violation of the ADA

       81.     Defendant restates and incorporates its answers to Paragraphs 1 through 80 of the

Second Amended Complaint as though set forth at length herein




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       82.     The allegations in Paragraph 82 (a)-(d) of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       83.     The allegations in Paragraph 83 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       84.     The allegations in Paragraph 84 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       85.     The allegations in Paragraph 85 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       86.     The allegations in Paragraph 86 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       87.     The allegations in Paragraph 87 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       WHEREFORE, Defendant denies that Plaintiff is entitled to judgment in her favor or to the

relief requested in the WHEREFORE clause following Paragraph 87 of the Second Amended

Complaint. Defendant further denies that Plaintiff is entitled to judgment in her favor or to any relief

under the allegations set forth in the Second Amended Complaint. Defendant requests that the Court




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dismiss the claims, with prejudice, in their entirety and that Defendant be awarded costs, expenses,

interest on those amounts, and any such further relief that this Court may deem appropriate.

                                        COUNT IV
                       Failure to Accommodate in Violation of the PHRA

       88.     Defendant restates and incorporates its answers to Paragraphs 1 through 87 of the

Second Amended Complaint as though set forth at length herein.

       89.     The allegations in Paragraph 89 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       90.     The allegations in Paragraph 90 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       91.     The allegations in Paragraph 91 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       WHEREFORE, Defendant denies that Plaintiff is entitled to judgment in her favor or to the

relief requested in the WHEREFORE clause following Paragraph 91 of the Second Amended

Complaint. Defendant further denies that Plaintiff is entitled to judgment in her favor or to any relief

under the allegations set forth in the Second Amended Complaint. Defendant requests that the Court

dismiss the claims, with prejudice, in their entirety and that Defendant be awarded costs, expenses,

interest on those amounts, and any such further relief that this Court may deem appropriate.




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                                            Count V
                            Discrimination in Violation of the FMLA

       92.     Defendant restates and incorporates its answers to Paragraphs 1 through 91 of the

Second Amended Complaint as though set forth at length herein.

       93.     The allegations in Paragraph 93 (a)-(c) of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       94.     The allegations in Paragraph 94 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       95.     The allegations in Paragraph 95 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

      96.      Defendant denies the allegations in Paragraph 96 of the Second Amended
Complaint.

      97.      Defendant denies the allegations in Paragraph 97 of the Second Amended
Complaint.

       98.     The allegations in Paragraph 98 of the Second Amended Complaint state

conclusions of law to which no response is required; to the extent that any response is deemed to

be required, the allegations are denied.

       WHEREFORE, Defendant denies that Plaintiff is entitled to judgment in her favor or to the

relief requested in the WHEREFORE clause following Paragraph 98 of the Second Amended

Complaint. Defendant further denies that Plaintiff is entitled to judgment in her favor or to any relief

under the allegations set forth in the Second Amended Complaint. Defendant requests that the Court



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dismiss the claims, with prejudice, in their entirety and that Defendant be awarded costs, expenses,

interest on those amounts, and any such further relief that this Court may deem appropriate.

                                                ***

       To the extent that any of Plaintiff’s allegations in the Second Amended Complaint have

not been admitted or denied by Defendant, they are hereby denied.

                                             DEFENSES

       Defendant asserts the following defenses, without prejudice to its right to argue that

Plaintiff bears the burden of proof regarding some or all of these defenses.

                                         FIRST DEFENSE

       For the purposes of preserving a defense, Plaintiff has failed to state a claim upon which

relief can be granted.

                                       SECOND DEFENSE

       For the purposes of preserving a defense, Plaintiff’s claims are barred, in whole or in part,

by the applicable statutes of limitations.

                                        THIRD DEFENSE

       Plaintiff’s claims are barred, in whole or in part, because Plaintiff failed to exhaust her

administrative remedies.

                                       FOURTH DEFENSE

       For the purposes of preserving a defense, Plaintiff’s claims are barred, in whole or in part,

by the doctrines of waiver, estoppel, unclean hands, and laches.




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                                        FIFTH DEFENSE

        Plaintiff’s claims are barred, in whole or in part, and any recovery of damages is precluded,

because any employment action taken by Defendant with respect to Plaintiff was for legitimate,

nondiscriminatory business reasons.

                                        SIXTH DEFENSE

        Plaintiff’s claims are barred, in whole or in part, and any recovery of damages is precluded,

because Defendant exercised reasonable care to prevent and promptly correct any harassing

conduct, and because Plaintiff unreasonably failed to take advantage of any preventative or

corrective opportunities provided by Defendant.

                                      SEVENTH DEFENSE

        Plaintiff’s claims are barred, in whole or in part, because she cannot establish a prima facie

case of discrimination or failure to accommodate under the Americans with Disabilities Act or

PHRA.

                                       EIGHTH DEFENSE

        Plaintiff’s claims are barred, in whole or in part, because Plaintiff did not request a

reasonable accommodation pursuant to the Americans with Disabilities Act and/or granting any

reasonable accommodation Plaintiff sought or desired would have posed an undue hardship on

Defendant.

                                        NINTH DEFENSE

        Plaintiff’s claims are barred, in whole or in part, and any recovery of damages is precluded,

because Plaintiff failed to mitigate her alleged damages.




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                                          TENTH DEFENSE

           Plaintiff’s claim for punitive damages is barred because Defendant took affirmative, good-

faith measures to comply with the law and to prevent discrimination and retaliation in the

workplace.

                                        ELEVENTH DEFENSE

           Plaintiff’s claim for punitive damages is barred because Defendant took affirmative, good-

faith measures to comply with the law and to prevent discrimination and retaliation in the

workplace.

                                       TWELVETH DEFENSE

           Plaintiff’s claims are barred, in whole or in part, and any recovery of damages is precluded,

because she cannot establish a prima facie case of retaliatory discharge.

                                      THIRTEENTH DEFENSE

           Plaintiff’s claims under the PHRA are not entitled to be heard by a jury because neither the

PHRA nor the Pennsylvania Constitution provide a right to a jury trial for claims arising under that

statute.

                                      FOURTEENTH DEFENSE

           Plaintiff’s claims for punitive damages under the PHRA are barred because punitive

damages may not be awarded under the PHRA.

                                       FIFTEENTH DEFENSE

           Plaintiff’s claims are barred, in whole or in part, and any recovery of damages is precluded,

because Plaintiff cannot prove by a preponderance of the evidence that Defendant retaliated against

her for engaging in protected activity.




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                                       SIXTEENTH DEFENSE

          Defendant’s actions regarding Plaintiff were taken for legitimate, non-discriminatory

reasons unrelated to her participation in any alleged protected activity, or for any other unlawful

reason.

                                     SEVENTEETH DEFENSE

          Plaintiff’s claims are barred, in whole or in part, and any recovery of damages is precluded,

because Plaintiff cannot prove by a preponderance of the evidence that Defendant’s legitimate

nondiscriminatory reasons for terminating her services were pretextual.

                                     EIGHTEENTH DEFENSE

          Plaintiff’s claims for wrongful discharge in violation of public policy are barred, in whole

or in part, and any recovery of damages is precluded, because, to the extent Plaintiff’s claims are

actionable, the available statutory remedies are adequate.

                                      NINETEETH DEFENSE

          Plaintiff’s claims are barred, in whole or in part, and any recovery of damages is precluded,

because Plaintiff cannot prove by a preponderance of the evidence that Defendant acted

intentionally, willfully, knowingly, and maliciously toward Plaintiff.

                                      TWENTIETH DEFENSE

          Plaintiff’s Complaint is barred, in whole or in part, because any harm that Plaintiff suffered

was due to her own conduct.

                                    TWENTY-FIRST DEFENSE

          Plaintiff’s claims are barred, in whole or in part, and any recovery of damages is precluded,

because Defendant, at all times, acted in good faith, reasonably, and in accordance with all

applicable laws.

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                                TWENTY-SECOND DEFENSE

       Plaintiff’s allegations do not state an actionable claim for punitive damages.
                                 TWENTY-THIRD DEFENSE

       Plaintiff’s claim for punitive damages violates the Fifth, Sixth, and Fourteenth

Amendments of the United States Constitution and Pennsylvania Constitution and such damages

are, therefore, not recoverable in this action. Further, the claim for punitive damages violates the

federal doctrine of Separation of Powers because punitive damages are a creation of the judicial

branch of government and invade the province of the legislative branch; therefore, the claim for

punitive damages must be dismissed.

                                TWENTY-FOURTH DEFENSE

       Defendant reserves the right to amend its Answer and add additional affirmative defenses

or counterclaims that may become known during litigation.

Dated: September 10, 2021                            Respectfully submitted,

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